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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

  ____________________________________
                                       )
  STATE OF LOUISIANA, et al.,          )
                                       )
                          Plaintiffs,  )
                                       )
              v.                       )       Civil Action No. 6:22-CV-00885-RRS-CBW
                                       )
  CENTERS FOR DISEASE CONTROL          )
  & PREVENTION, et al.,                )
                                       )
                          Defendants.  )
  _____________________________________)


      DEFENDANTS’ MONTHLY REPORT FOR THE MONTH OF SEPTEMBER
          PURSUANT TO THE COURT’S PRELIMINARY INJUNCTION




                                           1
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         Pursuant to the Court’s May 20, 2022 preliminary injunction order, ECF No. 91, Defendants

  herein provide, subject to the caveats discussed below, data showing, for the month of September

  2022, (1) the number of single adults processed under Title 42 and Title 8 by country, (2) the number

  of recidivist border crossers for whom the U.S. Customs and Border Protection (“CBP”), Department

  of Homeland Security (“DHS”), has applied expedited removal, (3) the number of migrants that have

  been excepted from Title 42 under the NGO-supported humanitarian exception process, and (4) any

  material changes to policy regarding DHS’s application of the Title 42 process.

             1. The number of single adults processed under Title 42 and Title 8 by country.

         Below is the data for single adult encounters by CBP at the Southwest land border for the

  period of September 1–30, 2022.

                                                            Title     Title
   Component                   Citizenship                                     Total
                                                             42        8
                  AFGHANISTAN                                    0         3          3
                  ALGERIA                                        0         1          1
                  ANGOLA                                         2         0          2
                  ARGENTINA                                      1         0          1
                  ARMENIA                                        0      131         131
                  AZERBAIJAN                                     0       14          14
                  BAHAMAS                                        0         1          1
                  BELARUS                                        0       66          66
                  BELIZE                                         0       15          15
                  BRAZIL                                         1         8          9
      OFO         CANADA                                         3         3          6
                  CHILE                                          1         3          4
                  CHINA (MAINLAND)                               7         7         14
                  COLOMBIA                                       8       26          34
                  COSTA RICA                                     0         2          2
                  CUBA                                           8       14          22
                  DOMINICAN REPUBLIC                             1         7          8
                  ECUADOR                                        1         3          4
                  EL SALVADOR                                   10      199         209
                  EQUATORIAL GUINEA                              0         1          1
                  ETHIOPIA                                       0         2          2
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               FRANCE                              0       1       1
               GEORGIA                             3      18      21
               GERMANY                             1       3       4
               GHANA                               0      14      14
               GUADELOUPE                          1       0       1
               GUATEMALA                          21     125     146
               GUINEA                              0       2       2
               HAITI                               4   2,897   2,901
               HONDURAS                           16     582     598
               HUNGARY                             0       2       2
               INDIA                               1       1       2
               IRAN                                0       1       1
               ITALY                               0       2       2
               JAMAICA                             2       5       7
               JAPAN                               0       1       1
               KAZAKHSTAN                          0       3       3
               KYRGYZSTAN                          0      73      73
               LATVIA                              0       1       1
               LEBANON                             0       1       1
               LITHUANIA                           0       1       1
               MALI                                0       1       1
               MEXICO                          1,515   3,039   4,554
               MOLDOVA                             0       7       7
               MYANMAR (BURMA)                     2       0       2
               NICARAGUA                           6      18      24
               PALESTINE                           0       1       1
               PERU                                3       6       9
               PHILIPPINES                         0       1       1
               PORTUGAL                            0       1       1
               ROMANIA                             0       4       4
               RUSSIA                              2     827     829
               SENEGAL                             0       3       3
               SERBIA                              0       1       1
               SOMALIA                             0       3       3
               SPAIN                               2       3       5
               SWEDEN                              0       1       1
               SYRIA                               0       5       5
               TAJIKISTAN                          0      32      32
               TUNISIA                             0       1       1
               TURKEY                              0       4       4
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               UKRAINE                             2      7        9
               UNITED KINGDOM                      0      2        2
               UNITED STATES OF AMERICA            0      1        1
               UNKNOWN                             3      4        7
               URUGUAY                             0      1        1
               UZBEKISTAN                          0     19       19
               VENEZUELA                          19     23       42
               YEMEN                               0      2        2
   OFO Total                                   1,646 8,256     9,902
               AFGHANISTAN                         0    180      180
               ALBANIA                             0     16       16
               ALGERIA                             0      1        1
               ANGOLA                              0     51       51
               ARGENTINA                           0     22       22
               ARMENIA                             0      8        8
               AZERBAIJAN                          0     24       24
               BANGLADESH                          0    271      271
               BELARUS                             0     11       11
               BELIZE                              1     28       29
               BENIN                               0      6        6
               BOLIVIA                             0     55       55
               BRAZIL                              0    557      557
               BURKINA FASO                        0     29       29
               BURMA                               1      0        1
      USBP     CAMEROON                            0    199      199
               CENTRAL AFRICAN REPUBLIC            0      2        2
               CHILE                               0      7        7
               CHINA, PEOPLES REPUBLIC OF          0    362      362
               COLOMBIA                        1,395 5,554     6,949
               CONGO                               0     29       29
               COSTA RICA                          0     37       37
               CUBA                               68 18,629   18,697
               DEM REP OF THE CONGO                0     15       15
               DOMINICA                            0      2        2
               DOMINICAN REPUBLIC                  2 1,475     1,477
               ECUADOR                            77 1,695     1,772
               EGYPT                               0     15       15
               EL SALVADOR                     2,980    386    3,366
               EQUATORIAL GUINEA                   0      6        6
               ERITREA                             0     76       76
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               ETHIOPIA                            0     27       27
               FRANCE                              0      1        1
               GAMBIA                              0     10       10
               GEORGIA                             0    791      791
               GHANA                               0    197      197
               GUADELOUPE                          6      0        6
               GUATEMALA                       8,574    459    9,033
               GUINEA                              0     42       42
               GUINEA-BISSAU                       0      2        2
               GUYANA                              0      1        1
               HAITI                              18     98      116
               HONDURAS                        6,740    596    7,336
               INDIA                               0 1,431     1,431
               IRAN                                0     21       21
               IRAQ                                0      6        6
               ISRAEL                              0      4        4
               ITALY                               0      2        2
               IVORY COAST                         0      9        9
               JAMAICA                             0    218      218
               JORDAN                              0      4        4
               KAZAKHSTAN                          0     18       18
               KENYA                               0      2        2
               KOSOVO                              0      8        8
               KYRGYZSTAN                          0     32       32
               LEBANON                             0      9        9
               LIBERIA                             0      1        1
               MALI                                0     42       42
               MAURITANIA                          1    101      102
               MEXICO                         46,788 4,234    51,022
               MOLDOVA                             0      9        9
               MOROCCO                             0     12       12
               NEPAL                               0    318      318
               NETHERLANDS                         0      1        1
               NICARAGUA                          39 14,846   14,885
               NIGER                               0      6        6
               NIGERIA                             0     55       55
               PAKISTAN                            0     32       32
               PANAMA                              0     42       42
               PARAGUAY                            0      7        7
               PERU                                1 4,261     4,262
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                 PHILIPPINES                                 0      2       2
                 POLAND                                      0      4       4
                 PORTUGAL                                    0      2       2
                 ROMANIA                                     2     90      92
                 RUSSIA                                      0    248     248
                 RWANDA                                      0      1       1
                 SAUDI ARABIA                                0      1       1
                 SENEGAL                                     0    180     180
                 SERBIA                                      0      3       3
                 SIERRA LEONE                                0      5       5
                 SOMALIA                                     0    235     235
                 SOUTH AFRICA                                0      2       2
                 SOUTH SUDAN                                 0      1       1
                 SPAIN                                       0      3       3
                 SRI LANKA                                   0     21      21
                 SUDAN                                       0      8       8
                 SYRIA                                       0     21      21
                 TAJIKISTAN                                  0     35      35
                 THAILAND                                    0      1       1
                 TOGO                                        0      3       3
                 TRINIDAD AND TOBAGO                         0      1       1
                 TURKEY                                      0 1,042    1,042
                 TURKMENISTAN                                0      3       3
                 UGANDA                                      0      1       1
                 UKRAINE                                     0      9       9
                 URUGUAY                                     0      2       2
                 UZBEKISTAN                                  0    202     202
                 VENEZUELA                                  63 24,745 24,808
                 VIETNAM                                     0    147     147
                 YEMEN                                       0      2       2
   USBP Total                                           66,756 84,723 151,479
   CBP Total                                            68,402 92,979 161,381


         2. The number of recidivist border crossers for whom DHS has applied expedited
            removal.

         From September 1–30, 2022, U.S. Border Patrol (“USBP”) applied expedited removal, 8

  U.S.C. § 1225(b)(1), to 1,110 single adults who attempted to unlawfully enter the United States
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  between a port of entry and who had previously been encountered by USBP and processed under

  Title 42 or Title 8 at least one time since March 20, 2020.

          3. The number of migrants that have been excepted from Title 42 under the NGO-
             supported humanitarian exception process.

          From September 1–30, 2022, CBP’s Office of Field Operations processed 13,221 Title 42

  exceptions at the 8 ports of entry that utilize the above-referenced NGO-supported humanitarian

  exception process. The below shows the data broken down by port.

                             Brownsville, TX: 794
                             Hidalgo, TX: 4,002
                             Laredo, TX: 750
                             Eagle Pass, TX: 1,742
                             Paso del Norte, El Paso, TX: 824
                             Nogales, AZ: 374
                             Calexico, CA: 318
                             San Ysidro, CA: 4,417

          4. Any material changes to policy regarding DHS’s application of the Title 42 process.

          DHS reports that it has made no material changes to its policy on application of the Title 42

  process.1




  1
   As noted in Defendants’ prior reports, on August 15, 2022, the plaintiffs in Huisha-Huisha v. Mayorkas,
  No. 21-cv-00100 (D.D.C.), a class action challenging the application of the Title 42 policy to family
  units, filed a motion for partial summary judgment on their claim that the Title 42 policy is arbitrary
  and capricious. The Huisha-Huisha plaintiffs seek entry of an order vacating and setting aside
  Defendants’ “Title 42 policy,” declaring that the Title 42 policy is arbitrary and capricious, and
  permanently enjoining Defendants from applying the Title 42 policy to class members. Plaintiffs’
  motion for partial summary judgment is fully briefed.
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  Date: October 18, 2022                   Respectfully submitted,

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